           Case 1:13-cr-00048-LJO-BAM Document 26 Filed 06/04/13 Page 1 of 2


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   United States of America
 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                        CASE NO. 1:13-CR-00048 AWI BAM

12                               Plaintiff,           STIPULATION TO SET HEARING FOR CHANGE
                                                      OF PLEA AND ORDER THEREON
13                         v.

14   JAMES BROOKS,

15                               Defendant.

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17          Defendant, JAMES BROOKS, through his counsel, Harry Drandell and the United States of
18 America, through its counsel, Benjamin B. Wagner, United States Attorney and Kevin P. Rooney,

19 Assistant United States Attorney, hereby stipulate to schedule a Change of Plea hearing on June 10,

20 2013 at 10:00 a.m. before Senior United States District Judge Anthony W. Ishii.

21

22 Dated: June 4, 2013                                     BENJAMIN B. WAGNER
                                                           United States Attorney
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24                                                         /s/ Kevin P. Rooney
                                                           KEVIN P. ROONEY
25                                                         Assistant United States Attorney
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      Stipulation                                      1
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                           Case 1:13-cr-00048-LJO-BAM Document 26 Filed 06/04/13 Page 2 of 2


 1 Dated: June 4, 2013                                               /s/ Harry Drandell
                                                                     HARRY DRANDELL
 2                                                                   Attorney for Defendant, JAMES BROOKS
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 6                                                           ORDER
 7                         IT IS HEREBY ORDERED that a change of plea hearing for defendant JAMES BROOKS is
 8 set on June 10, 2013 at 10:00 a.m.

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11 IT IS SO ORDERED.

12 Dated: June 4, 2013
                                                          SENIOR DISTRICT JUDGE
13   DEAC_Signature-END:




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                      Stipulation                                2
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